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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                       MISSOULA DIVISION

 UNITED STATES OF AMERICA,                 CR 21-29-M-DLC

             Plaintiff,                    UNITED STATES’ SUR-REPLY TO
                                           DEFENDANT’S THIRD MOTION
       vs.                                 TO DISMISS

 MICHAEL BLAKE DEFRANCE,

             Defendant.



     Comes now, Jennifer S. Clark, and files a sur-reply to Defendant’s reply.

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      I.     DeFrance’s Reply Fails to Add Support to his Claim that the
             United States Suppressed Exculpatory Evidence resulting in
             prejudice.

             A. DeFrance has not shown that the disclosed documents contain
                any exculpatory information not available to the defense.

      DeFrance’s reply once again fails at the first step of the Brady inquiry by

failing to identify any exculpatory or impeaching information that was suppressed

by the United States.1 The only specific argument DeFrance makes in his reply

with respect to the exculpatory value of the information at issue appears to be that

it discloses the fact that at least two, and perhaps the other three, transactions were

given a “proceed” designation by NICS. Doc. 74 at 8. It is undisputed, however,

that this precise information was included in the original 4473 documents, which

DeFrance acknowledges were not suppressed. Doc. 74 at 5 (“Mr. DeFrance never

claimed that the government suppressed the 4473 Forms.”). The disclosed

documents provided no new information in that respect.

      More broadly, DeFrance’s arguments labor under a fundamental

misunderstanding. He refers generally to the disclosure of “NICS Examiner



1
  As noted in the United States’ response brief, the proper standard for NICS
information purged pursuant to federal regulations is not failure to disclose
exculpatory evidence under Brady, but failure to preserve potentially exculpatory
evidence under Arizona v. Youngblood, 488 U.S. 51, 57 (1988). See Doc. 72 at 14-
15. DeFrance fails to address that issue or explain how the United States’
compliance with federal regulations implemented to protect gunowner privacy
could be in bad faith.
                                           2
documents,” apparently referring to the emails from Dana Pickles (Doc. 63 at 1-3,

Doc. 69-2 at 1-3), and Stephen Feuerstein’s email and attachments (Doc. 63 at 1,

27-31).2 Pickles, however, is a program analyst for the ATF and Feuerstein is an

investigative analyst, also at ATF. The National Instant Criminal Background

Check System (NICS) is operated by the FBI.3 See Doc. 72 at 2, n.1

(acknowledging that NICS is operated by the FBI). There were no “NICS

Examiner documents” in the disclosures. Indeed, the purpose of the United

States’ disclosure of this information was simply to show that no additional NICS

materials relating to DeFrance’s transactions exist pursuant to federal privacy

regulations. The documents were not exculpatory and provided out of

completeness in relation to the new charges.

      As the emails themselves explain, the ATF does not process NICS checks,

but only receives transactions that are denied through the NICS process. See Doc.

63 at 2. That DeFrance had not been denied a firearm during a NICS check was


2
  The other documents included in documents 63 are copies of the 4473 documents
provided by DeFrance. Doc. 63 at 5-26. Document 69-2, pages 4-7, contain a
forward of the email correspondence of Doc. 63, 1-3.
3
  Importantly, the United States made a typographical error in footnote 4 of its
response brief, Doc. 72 at 9, n.4. The footnote was meant to make clear that
neither Feuerstein nor Pickles were agents on this case or expected to testify at
trial. DeFrance, perhaps correctly interpreting the footnote, has made clear that
his contention is not that his claims are premised on “impeachment” value of these
individuals. Doc. 74 at 8 (“The NICS Examiner documents are exculpatory, not
impeachment.”).

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information he already had.4 The emails merely confirm the information

regarding the DeFrance’s NICS transactions included in the forms he provided and

the publicly available regulations. Comments made in emails by the ATF analysts

in September of 2021 are not relevant to NICS checks performed by the FBI years

earlier.

       The email in Document 63 is Pickles’ summary of information from the

4473 forms themselves and confirming the absence of any ATF record for denials,

consistent with the federal regulations governing the purging of NICS information.

Doc. 63 at 2-3. Nothing in Pickles’ email contains any exculpatory information

not provided in the 4473 forms or the relevant regulations.5 The chart below

provides a side-by-side comparison of the information contained in the 4473s

provided by DeFrance and in the retention regulations with the information

contained in the disclosed emails.



4
  As previously argued, the government maintains that the fact that the transactions
were not denied is not admissible at trial as substantive evidence that DeFrance
was not prohibited.
5
  Nor is there anything exculpatory in the statement that “As the FFL is allowed to
transfer the firearm(s) after 3 business days all the transfers were done legally.”
Doc. 63 at 3. As the context makes clear, Pickles was referring to the legality of
the Federal Firearms Licensee (FFL) transferring the firearms, not analyzing
DeFrance’s prohibited status or false statements on the forms. He merely
confirmed that the transactions did not proceed following a denial. Moreover, as
noted in the United States’ response, the post hoc opinion of an ATF analyst is
irrelevant to the jury questions of whether DeFrance was in fact prohibited or had
knowledge of his prohibited status.
                                         4
 Information on 4473s        Information contained in       Records retention
 provided by defendant       emails                         regulation
                                                            28 CFR § 25.9
 NTN 2TLN6WG                 NTN 2TLN6WG                    Delayed: identifying
 Delayed                     Delayed                        info provided by
 No resolution from NICS;    Not denied – either proceed transferee destroyed
 can transfer 2/10/15; gun   or left delayed purged per     within 90 days
 transferred 2/10/15         law                            28 CFR
 Doc. 63 at 7-9              Doc. 63 at 2                   § 25.9(b)(1)(ii)
 NTN 10015ZV34               NTN 10015ZV34                  Delayed: identifying
 Delayed                     Delayed                        info provided by
 No resolution from NICS;    Not denied                     transferee destroyed
 can transfer 9/28/16; gun   either proceed or left delayed within 90 days
 transferred 10/3/16         purged per law                 28 CFR
 Doc. 63 at 11-13            Doc. 63 at 2                   § 25.9(b)(1)(ii)
 NTN 100JMSSST               NTN 100JMSSST                  Proceed: identifying
 Delayed                     Delayed                        info provided by
 Proceed response from       Proceeded                      transferee destroyed
 NICS 3/1/18                 purged per law                 within 24 hours
 Gun transferred 3/2/18      Doc. 63 at 2                     28 CFR
 Doc. 63 at 15-18                                           § 25.9(b)(1)(iii)
 NTN 100JW6NZT               NTN 100JW6NZT                  Delayed: identifying
 Delayed                     Delayed                        info provided by
 No response from NICS;      Not denied                     transferee destroyed
 can transfer 3/8/18; gun    either proceed or left delayed within 90 days
 transferred 3/10/18         purged per law                   28 CFR
 Doc. 63 at 20-21            Doc. 63 at 2                   § 25.9(b)(1)(ii)
 NTN 100PYP1ZR               NTN 100PYP1ZR                  Proceed: identifying
 Delayed                     Delayed                        info provided by
 Proceed response from       Proceeded                      transferee destroyed
 NICS 8/30/18                purged per law                 within 24 hours
 Gun transferred 9/1/18      Doc. 63 at 2                     28 CFR
 Doc. 63 at 23-26                                           § 25.9(b)(1)(iii)


Nor is there any exculpatory or impeaching information in the Pickles’ emails in

Document 69-2, which merely contain answers to questions regarding the general


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process regarding NICS process. Doc 69-2 at 1-3. The additional emails contain

no information regarding any of DeFrance’s firearms transactions.6

      Similarly, the email and attachments from ATF Analyst Feuerstein (Doc. 63

at 1, 27-31) contain no new exculpatory information. Again, the ATF employee’s

after-the-fact opinions regarding DeFrance’s status would not be relevant to the

question of whether he was prohibited, nor relevant to his knowledge or his

estoppel defense. They also do not constitute a belated conclusion by a NICS

examiner that DeFrance was prohibited.

             B. DeFrance has not demonstrated any prejudice by what he
                contends was the untimely disclosure of the emails from ATF.

      DeFrance cannot show that any information was “suppressed” or that he was

in any way prejudiced. DeFrance’s claim that he could have “woven” the

contents of the document into his briefing (Doc. 74 at 6) adds no support to his

assertion of prejudicial suppression.

      First, as noted above, the information DeFrance asserts the government

withheld has always been in the defendant’s possession or available to the

defendant. He was present at his change of plea and sentencing. He provided


6
  DeFrance’s opening brief takes issue with Pickles’ paraphrase of the prohibited
status definition in the course of an example emphasizing an unrelated point, Doc.
70 at 7 (citing Doc. 69 at 1) but fails to explain how, even if inaccurate, the
comment by an ATF agent in 2021 (after the transactions at issue and never
represented to DeFrance) would relate to any element of the charges or the prior
FBI NICS check.
                                         6
his identifying information to NICS on his 4473. He acquired the 4473 forms

from Cash 1 Pawn. The NICS determinations are memorialized on the 4473.

His Sanders County Court records are maintained in Sanders County.          The federal

privacy regulations are publicly available.

      Second, DeFrance has yet to establish that any delay in disclosure resulted in

any prejudice. DeFrance argues that the information was relevant to DeFrance’s

then-pending motions to dismiss. However, the Court has resolved those motions

on legal grounds unaffected by this information.      Doc. 71. In particular, the

Court held that the relationship question was one for jury to decide, so to the extent

there is any admissible, exculpatory evidence in these documents relevant to that

issue, he is free to use it at trial. Likewise, his failure to state a claim motion,

which he appears to refer to as his “adequate notice” argument, Doc. 74 at 5, was

similarly denied on unrelated grounds.7

      Additionally, after he received these documents, DeFrance moved the Court

for leave to file additional motions. He was granted leave on November 22, 2021.

Doc. 64. He had 28 days to raise any issues, yet he only filed a motion to


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  Similarly, DeFrance argues the information was relevant to a claim, equating a
claim under 18 U.S.C. § 922(a)(6) to the issue raised in United States v. Door, 996
F.3d 606 (9th Cir. 2021). It is not clear why he would be unable to make such an
argument due to the timing of the disclosure, but in any event, the argument is
identical to that raised by DeFrance’s counsel in United States v. Meech, 2022 WL
136823 (D. Mont. January 14, 2022) (unpublished), where it was rejected.

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dismiss. He had, and continues to have, leave to file additional motions.      Doc.

76. He was also given an opportunity for supplemental briefing with respect to

the government’s motions in limine. To the extent that DeFrance is able to use

this information to “at least thoughtfully consider other strategies of defense,” Doc.

74 at 7, those strategies, such as they are, are still available to him.

      Finally, both DeFrance’s claim that the lack of information impeded his

opportunity to consider a guilty plea or to take whatever steps he believes were

open to him with respect to the grand jury, fail for the same reasons as above. He

was aware of the same information regarding the NICS process that he has now—

that two of his firearms transactions had been reviewed as a proceed and the

remaining transactions were not denied. If that information was sufficient to alter

DeFrance’s stance with respect to the plea or to “lobby the government” or request

the opportunity to testify before the grand jury, see Doc. 74 at 8, it was available to

him and he did not act on it.    He has not explained how any of the information in

the September 2021 ATF emails would have made any difference sufficient to

show prejudice.

      DeFrance’s claim that the Court should review the grand jury transcript to

determine if the “NICS Examiner assessments” and “the underlying narrative”

were put before the grand jury is not supported by law. See United States v.

Williams, 112 S. Ct. 1735(1992) (Federal courts’ supervisory powers over grand


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jury do not include dismissal of a valid indictment for failure of prosecutor to

include substantial exculpatory evidence).8 DeFrance acknowledges that he has

the burden to show “a particularized need” for grand jury transcripts to be

disclosed. Doc. 74 at 12. The Court should not accept his invitation to engage

in a fishing expedition to search for grand jury wrongdoing when there are no

grounds to believe that any wrongdoing or abuse occurred. See United States v.

Rodriguez-Torres, 570 F.Supp.2d 237, 242 (D. Puerto Rico 2008). DeFrance has

not offered anything to suggest misconduct occurred. United States v. DeTar,

832 F.2d 1110, 1113 (9th Cir. 1987) (assertion that defendant doesn’t know if

misconduct occurred is insufficient); United States v. Reed, 147 F.3d 1178, 1179

(9th Cir. 1998) (A defendant’s need must be based on more than mere speculation).

He has failed to establish that the ATF emails are exculpatory as they relate to the

charges in the Second Superseding Indictment. While the information contained

in the 4473s may establish an affirmative defense for DeFrance, they do not clearly

exculpate his conduct. And even if DeFrance could establish the emails were




8
  DOJ policy requires a prosecutor personally aware of substantial evidence that
directly negates the guilt of a subject to present or otherwise disclose such
evidence to the grand jury. See Justice Manual § 9-11.233. The prosecutor is not
required to present affirmative defenses. See, e.g., United States v. Wilcher, 2021
WL 4394585, *7 (C.D. Ill. 2021) (affirmative defense of entrapment is irrelevant
to the grand jury’s consideration of probable cause).

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exculpatory, they do not provide a legal basis for this Court to grant a dismissal of

the indictment.

               C. DeFrance’s evidentiary arguments are irrelevant to his
                  motions and incorrect.

      DeFrance’s arguments related to the United States’ evidence bear no

relevance to the issues the Court needs to decide. They are also not an accurate

application of the law.

      The Parol evidence rule has no application in criminal cases. See, e.g.,

United States v. Kreimer, 609 F.2d 126, 133 (5th Cir. 1980) (parol evidence rule

applies to parties to a contract and does not apply in criminal cases); United States

v. Perry, 537 Fed.Appx. 347 (5th Cir. 2013) (parol evidence does not apply where

a controversy is between the government and a party to a contract in fraud

prosecution). DeFrance’s prior sentence and related documents (1) establish

under which subsection of partner/family member assault DeFrance was convicted,

and (2) it rebut any claim he didn’t have knowledge that his conviction may be

prohibiting.

      Likewise, Judge Strine’s statement regarding his “potential consequence”

“loss of firearms rights” is a fact to be presented to the jury to consider in

conjunction with the “lying and buying” charge. The jury must decide if

DeFrance knew his status was “convicted of a misdemeanor crime of domestic

violence.” What he was told is a fact for them to assess.      Judge Strine will not

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testify that DeFrance is a prohibited person under 922(g)(9) as that invades the

province of the jury. However, he will provide factual details to assist the jury in

making their decision.

      II.    DeFrance’s Reply Fails to Add Support to his Claim that the
             United States was Vindictive in Seeking a Second Superseding
             Indictment.

      DeFrance provides no additional evidence to support a dismissal for

vindictive prosecution. His reliance on United States v. Motley, 655 F.2d 186

(9th Cir. 1982) is misplaced because there the government filed additional charges

after a mistrial. Id. at 190. The courts have consistently reviewed pre-trial

charging decisions differently than post-trial. See, e.g., United States v. Gallegos-

Curiel, 681 F.2d 1164, 1170 (9th Cir. 1982); United States v. Goodwin, 457 U.S.

368, 381 (1982); United States v. Edmonson, 792 F.2d 1492 (9th Cir. 1986).

                                   CONCLUSION

      For the foregoing reasons, the Court should deny DeFrance’s motion to

dismiss Second Superseding Indictment.

      DATED this 18th day of January, 2022.

                                       LEIF M. JOHNSON
                                       United States Attorney


                                       /s/ Jennifer S. Clark
                                       Assistant U.S. Attorney
                                       Attorney for Plaintiff


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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule, this certifies that the body of the attached response

contains 1,998 words, excluding the caption and certificate of compliance.

                                       LEIF M. JOHNSON
                                       United States Attorney


                                       /s/ Jennifer S. Clark
                                       Assistant U.S. Attorney
                                       Attorney for Plaintiff




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